          Case 1:18-bk-10098-MB                 Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                                        Desc
                                                 Main Document     Page 1 of 19



 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address
 Bradley E. Brook, Esq. #125323
 Law Offices of Bradley E. Brook, APC
 10866 Washington Blvd. #108
 Culver City, CA 90232
 T: 310-839-2004
 F: 310-945-0022
 E: bbrook@bbrooklaw.com




      Attorney for: David K. Gottlieb, Chapter 7 Trustee

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION
                                                                              DIVISION

 In re:                                                                       CASE NO.: 1:18-bk-10098-MB
 PENTHOUSE GLOBAL MEDIA, et. al.                                              CHAPTER: 7


                                                                                      NOTICE OF OBJECTION TO CLAIM

                                                                              DATE: 12/08/2021
                                                                              TIME: 11:00 am
                                                                              COURTROOM: 303
                                                                              PLACE: 21041 Burbank Blvd., Woodland Hills, CA 91367



                                                              Debtor(s).

1. TO (specify claimant and claimant’s counsel, if any): Arash Dadashzadeh

2. NOTICE IS HEREBY GIVEN that the undersigned has filed an objection to your Proof of Claim (Claim #74-1             ) filed
   in the above referenced case. The Objection to Claim seeks to alter your rights by disallowing, reducing or modifying the
   claim based upon the grounds set forth in the objection, a copy of which is attached hereto and served herewith.
3. Deadline for Opposition Papers: You must file and serve a response to the Objection to Claim not later than 14
   days prior to the hearing date set forth above.
    IF YOU FAIL TO TIMELY RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE
    RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER NOTICE OR HEARING.
Date: 11/08/2021                                                                   Law Offices of Bradley E. Brook, APC
                                                                                   Printed name of law firm

                                                                                   Bradley E. Brook
                                                                                   Signature
Date Notice Mailed: 11/08/2021                                                     Bradley E. Brook
                                                                                   Printed name of attorney for objector

           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                       F 3007-1.1.NOTICE.OBJ.CLAIM
Case 1:18-bk-10098-MB         Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                Desc
                               Main Document     Page 2 of 19


 1   Bradley E. Brook (CA Bar No. 125323)
     LAW OFFICES OF BRADLEY E. BROOK, APC
 2   10866 Washington Blvd. #108
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 3   Tel: 310/839-2004; Fax: 310-945-0022
     E-mail: bbrook@bbrooklaw.com
 4
     Special counsel for David K. Gottlieb, Chapter 7 Trustee
 5

 6                              UNITED STATES BANKRUPTCY COURT

 7        CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION

 8    In re:                                               Case No.: 1:18-BK-10098-MB
                                                           Chapter 7
 9    PENTHOUSE GLOBAL MEDIA, INC.,                        Jointly Administered with Cases Nos.:
                                                           1:18-bk-10099-MB; 1:18-bk-10101-MB;
10                                  Debtor.                1:18-bk-10102-MB; 1:18-bk-10103-MB;
      _____________________________________                1:18-bk-10104-MB; 1:18-bk-10105-MB;
11         Affects All Debtors                             1:18-bk-10106-MB; 1:18-bk-10107-MB;
           Affects Penthouse Global Broadcasting,          1:18-bk-10108-MB; 1:18-bk-10109-MB;
12    Inc.                                                 1:18-bk-10110-MB; 1:18-bk-10111-MB;
           Affects Penthouse Global Licensing, Inc.        1:18-bk-10112-MB; 1:18-bk-10113-MB
13         Affects Penthouse Global Digital, Inc.
           Affects Penthouse Global Publishing, Inc.       NOTICE OF MOTION AND MOTION OF
14         Affects GMI Online Ventures, Ltd.               TRUSTEE FOR ORDER DISALLOWING
           Affects Penthouse Digital Media                 REQUEST FOR PAYMENT OF
15    Productions, Inc.
           Affects Tan Door Media, Inc.                    ADMINISTRATIVE CLAIM NO. 74-1
16         Affects Penthouse Images Acquisitions,          FILED BY ARASH DADASHZADEH
      Ltd.                                                 IN THE SUM OF $2,121.60;
17         Affects Pure Entertainment                      MEMORANDUM OF POINTS AND
      Telecommunications, Inc.                             AUTHORITIES; DECLARATION OF
18         Affects XVHUB Group, Inc.                       DAVID K. GOTTLIEB IN SUPPORT
           Affects General Media Communications,           THEREOF
19    Inc.
           Affects General Media Entertainment, Inc.
20         Affects Danni Ashe, Inc.                        Date: December 8, 2021
           Affects Streamray Studios, Inc.                 Time: 11:00 am
21                                                         Place: Courtroom 303
                                                                  21041 Burbank Blvd.
22
                                                                  Woodland Hills, CA 91367
23                                                         Judge: Hon. Martin R. Barash

24                                                         Last Date to File Response: 11/24/2021

25             PLEASE TAKE NOTICE that David K. Gottlieb, solely in his capacity as the duly

26   appointed, authorized and acting Chapter 7 Trustee (the “Trustee”) of Penthouse Global Media, Inc.

27   and its debtor affiliates (collectively, the “Debtors”) hereby moves (the “Motion”) the Court for an

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Case 1:18-bk-10098-MB         Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                Desc
                               Main Document     Page 3 of 19


 1   order disallowing the Request for Payment of Administrative Claim No. 74-1 filed by Arash

 2   Dadashzadeh (“Claimant”) in the sum of $2,121.60 (the “Claim”). The Claim reflects that it is for

 3   “affiliate marketing commission owed” and attached to it is a list of dates and amounts due. A copy

 4   of the commission contract is not provided, but it appears to be a prepetition agreement because a

 5   number of the dates on the attachment predate January 11, 2018 when the Debtors initiated these

 6   cases. The Claimant did not provide any evidence that he/she was required to, and did, provide

 7   material post-petition services to generate the commissions. As such, the Claimant has not met

 8   his/her burden of proof that the Claim is an allowable administrative expense and it must be

 9   disallowed. Should the Claimant file and serve a timely response supported by admissible evidence

10   that may show otherwise, the Trustee reserves all rights.

11          PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion has been

12   scheduled for December 8, 2021 at 11:00 a.m. before the Honorable Martin Barash, United States

13   Bankruptcy Judge, in Courtroom 303, 20141 Burbank Boulevard, Woodland Hills, California 91367.

14   The Court will conduct the hearing remotely, using ZoomGov audio and video technology.

15   Individuals will not be permitted access to the courtroom. The following is the unique ZoomGov

16   connection information for the above-referenced hearing:

17   Video/audio web address: https://cacb.zoomgov.com/j/1617986034

18   ZoomGov meeting number: 161 798 6034

19   Password: 477579

20   Telephone conference lines: 1 (669) 254 5252 or 1 (646) 828 7666

21          PLEASE TAKE FURTHER NOTICE that the Motion has been served upon the claimant

22   listed above and all parties entitled thereto and is based upon the supporting Memorandum of Points

23   and Authorities and Declaration of David K. Gottlieb, the statements, arguments and representations

24   of counsel who appear at the hearing on the Motion, the files and records in the above-captioned

25   cases, any evidence properly before the court prior to or at the hearing regarding the Motion and all

26   matters of which the court may properly take judicial notice.

27          PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),

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Case 1:18-bk-10098-MB         Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                   Desc
                               Main Document     Page 4 of 19


 1   responses to the Motion must be filed with the Court and served upon the Trustee’s counsel at the

 2   address in the upper left-hand corner of this Motion no later than fourteen (14) days prior to the

 3   hearing date, plus an additional 3 days if you were served by mail, or pursuant to F.R.Civ.P.

 4   5(b)(2)(D) or (F). Responses must contain a written statement of all reasons the Motion is opposed

 5   and must include declarations and copies of all documentary evidence on which the responding party

 6   intends to rely. Responses must be filed either electronically or at the following location:

 7                                       United States Bankruptcy Court
                                              21041 Burbank Blvd.
 8                                        Woodland Hills, CA 91367
 9          PLEASE TAKE FURTHER NOTICE that if a response is not timely filed, the Trustee will

10   request that the relief requested in the Motion be granted without further notice or hearing.

11          PLEASE TAKE FURTHER NOTICE that if a response is timely filed and served upon the

12   Trustee’s counsel, the Court may treat the initial hearing as a status conference if it determines that

13   the Motion involves disputed facts or will require presentation of substantial evidence or argument.

14          WHEREFORE, the Trustee respectfully requests that the Court enter an order (a) granting

15   the Motion; (b) disallowing the Claim as an administrative claim against the Debtors’ estates; and (c)

16   granting the Trustee such other and further relief as may appropriate under the circumstances.

17   Dated: November 8, 2021                LAW OFFICES OF BRADLEY E. BROOK, APC
18
                                       By: Bradley E. Brook __________________________
19                                         Bradley E. Brook, Esq.
                                           Special counsel for David K. Gottlieb, Chapter 7 Trustee
20
     Submitted by:
21
     Linda F. Cantor (CA Bar No. 153762)
22   PACHULSKI STANG ZIEHL & JONES LLP
     10100 Santa Monica Blvd., 13th Floor
23   Los Angeles, CA 90067
     Telephone: 310/277-6910
24   Facsimile: 310/201-0760
     E-mail: lcantor@pszjlaw.com
25
     By: /s/ Linda F. Cantor____________________
26      Linda F. Cantor
        Counsel for David K. Gottlieb, Chapter 7 Trustee
27      of Penthouse Global Media, Inc. and its debtor affiliates
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Case 1:18-bk-10098-MB        Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                Desc
                              Main Document     Page 5 of 19


 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     BACKGROUND.

 3          A.     The Debtors’ Bankruptcy Cases, Jurisdiction and Venue.

 4          On January 11, 2018, the Debtors each filed voluntary petitions for relief under chapter 11 of

 5   the Bankruptcy Code (the “Petition Date”). The Debtors’ Cases are being jointly administered under

 6   lead case number 1:18-bk-10098-MB [Docket No. 17]. On March 2, 2018, the Court entered an

 7   order directing the appointment of a chapter 11 Trustee [Docket No. 231]. On March 6, 2018, the

 8   United States Trustee filed a Notice of Appointment of Chapter 11 Trustee [Docket No. 236]. On

 9   that same day, the Court entered an order approving the appointment of David K. Gottlieb as Trustee

10   [Docket No. 239].

11          On January 31, 2019, the Trustee filed a Notice of Motion and Motion for Order Converting

12   Cases to Chapter 7 [Docket No. 790] (the “Conversion Motion”). The Bankruptcy Court entered its

13   Order converting the Cases to Cases under chapter 7 of the Bankruptcy Code [Docket No. 810] (the

14   “Conversion Order”) on March 12, 2019, and the Office of the United States Trustee appointed

15   David K. Gottlieb as the chapter 7 trustee in the Cases [Docket No. 812].

16          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a

17   core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of this matter is appropriate pursuant to

18   28 U.S.C. §§ 1408 and 1409.

19          B.     The Debtors Sold All Of Their Assets And Claimant’s Contract With The

20   Debtors Was Rejected.

21          On April 18, 2018, the Trustee filed a Notice of Motion and Motion for Order: (A) Approving

22   Sale of Substantially All Assets Free And Clear Of All Liens, Claims, Encumbrances and Interests;

23   (B) Scheduling Auction And Sale Hearing; (C) Approving Sale Procedures And Notice Of Sale; And

24   (D) Granting Related Relief [Docket No. 377] (the “Sale Motion”).

25          On May 14, 2018, the Trustee filed a Notice of Motion and Motion for Order Authorizing

26   Trustee to (A) Assume Unexpired Leases and Executory Contracts; (B) Establish Cure Amounts; (C)

27   Assign Unexpired Leases and Executory Contracts; and (D) Grant Related Relief Pursuant to

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Case 1:18-bk-10098-MB             Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                            Desc
                                   Main Document     Page 6 of 19


 1   Section 365(A) of the Bankruptcy Code [Docket No. 469] (the “Assumption Motion”) to which a

 2   schedule of executory contracts and leases was attached as Exhibit “A” which did not include the

 3   Claimant’s contract.1 Claimant was served with the Assumption Motion to which it filed no

 4   opposition.

 5           On June 14, 2018, the Court entered its Order (A) Approving Sale of Substantially All Assets

 6   Free and Clear of All Liens, Claims, Encumbrances and Interests To Successful Bidder; (B)

 7   Approving The Estates’ Assumption And Assignment Of Certain Unexpired Leases And Executory

 8   Contracts; And (C) Granting Related Relief (“Sale Order”) [Docket No. 577]. Among other things,

 9   the Sale Order approved WCGZ Ltd. as the successful bidder (the “Buyer”) and authorized the

10   assumption and assignment to it of certain executory contracts and leases (collectively, the

11   “Assumed Contracts”).

12           The Buyer subsequently identified to the Trustee the specific executory contracts and leases

13   which would constitute the Assumed Contracts. On June 25, 2018, the Trustee filed a Notice pf

14   Rejection of Certain Executory Contracts and Deadline to File Proof of Claim Based On Rejection

15   Of Such Executory Contracts (the “Notice Of Assumed Contracts”) [Docket No. 596] designating

16   those leases and executory contracts which the Buyer agreed to have be assumed and assigned. The

17   Claimant’s contract was not included in that designation. Accordingly, the Claimant’s contract was

18   deemed rejected by operation of law.

19           C.       The Administrative Claims Bar Date And The Claim.

20           On October 22, 2018, the Trustee filed and served the Notice Of Deadline For Filing

21   Requests For Payment Of Chapter 11 Administrative Claims That Arose Between January 11, 2018

22   And June 15, 2018 [Docket No. 714] (the “Administrative Claim Bar Date Notice”), setting

23   November 21, 2018 as the bar date for filing chapter 11 administrative claims (the “Bar Date”).

24           On or about November 13, 2018, the Claimant filed the Claim which was assigned claim

25   number 74-1 by the court clerk requesting payment in the sum of $2,121.60. A true and correct copy

26   of the Claim is attached hereto as Exhibit “1”. The Claim reflects that it is for “affiliate marketing

27
     1
       The Trustee believes that the commission agreement was not an executory contract. But, if it was an executory contract,
28   it was not an Assumed Contract, as that term is defined below.
                                                                5
Case 1:18-bk-10098-MB          Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                Desc
                                Main Document     Page 7 of 19


 1   commission owed” and attached to it is a list of dates and amounts due. A copy of the commission

 2   contract was not provided by the Claimant and the Claim is unsupported by any other evidence.

 3   II.    ARGUMENT.

 4          A.      The Claimant Has the Burden to Prove the Validity of its Administrative

 5   Expense Claim.

 6          The allowance of an administrative expense claim is codified in section 503(b) of the

 7   Bankruptcy Code, which states in relevant part:

 8          After notice and a hearing, there shall be allowed administrative expenses . . . including –

 9   (1)(A) the actual, necessary costs and expenses of preserving the estate . . . 11 U.S.C. § 503

10   (b)(1)(A). Unlike general unsecured proofs of claims, administrative claims lack presumptive

11   validity. In re Blanchard, 547 B.R. 347, 352 (Bankr.C.D. Cal. 2016). “The burden of proving an

12   administrative expense claim is on the claimant.” Microsoft Corp. v. DAK Indus. (In re DAK

13   Indus.), 66 F.3d, 1091,1094 (9th Cir. 1995); see also Einstein/Noah Bagel Corp. v. Smith (In re BCE

14   West LP), 319 F.3d 1166, 1173 (9th Cir. 2003). “The administrative expense applicant must prove

15   entitlement to the requested reimbursement by a preponderance of the evidence.” Gull Indus. v. John

16   Mitchell, Inc. (In re Hanna), 168 B.R. 386, 388 (9th Cir. BAP 1994). The Claimant has not met its

17   burden that it is entitled to an administrative expense.

18          B.      The Claim Arose Prepetition And Is Not Entitled To Be Allowed As An

19   Administrative Expense.

20          The Claim reflects that it is for “affiliate marketing commission owed” and attached to it is a

21   list of dates and amounts due. A copy of the commission contract was not provided by the Claimant

22   and the Claim is unsupported by any other evidence. The Claim reflects that it is for “affiliate

23   marketing commission owed” and attached to it is a list of dates and amounts due. A copy of the

24   commission contract is not provided, but it appears to be a prepetition agreement because a number

25   of the dates on the attachment predate January 11, 2018 when the Debtors initiated these cases. The

26   Claimant did not provide any evidence that he/she was required to, and did, provide material post-

27   petition services to generate the commissions.

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Case 1:18-bk-10098-MB         Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                  Desc
                               Main Document     Page 8 of 19


 1          As set forth in 11 U.S.C. § 503(1)(A)(i), the plain meaning of the phrase “...commissions for

 2   services rendered after the commencement of the case” unambiguously requires that the services ‘(1)

 3   arose from a transaction with the debtor-in-possession as opposed to the preceding entity (or,

 4   alternatively, that the claimant gave consideration to the debtor-in-possession); and (2) directly and

 5   substantially benefitted the estate.’” Blanchard, 547 B.R. at 352 quoting In re DAK Indus., Inc., 66

 6   F.3d at 1094. “[F]ederal law determines when a claim arises under the Bankruptcy Code.” In re

 7   SNTL Corp. (“STNL Corp”), 571 F.3d 826, 839 (9th Cir. 2009). A claim exists “whenever a party

 8   has a right to payment, whether or not reduced to judgment, liquidated, unliquidated, fixed,

 9   contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured or unsecured.” 11

10   U.S.C. § 105(A). The Bankruptcy Code utilizes this exceptionally broad definition of the term

11   “claim” in order to ensure that “all legal obligations of the debtor, no matter how remote or

12   contingent, will be able to be dealt with in the bankruptcy case.” Id. at 838 quoting Cal. Dep't of

13   Health Servs. v. Jensen (“In re Jensen”), 995 F.2d 925, 929-30 (9th Cir. 1993)); In re Christian Life

14   Ctr., 821 F.2d 1370, 1375 (9th Cir. 1987) (Congress intended to provide “‘the broadest possible

15   definition’ of claims so that ‘all legal obligations of the debtor, no matter how remote or contingent,

16   will be able to be dealt with in the bankruptcy case.’” (quoting S. Rep. No. 95-989, at 22 (1978), as

17   reprinted in 1978 U.S.C.C.A.N. 5787, 5808)).

18          To determine when a claim arises, the Ninth Circuit ordinarily employs the “fair

19   contemplation” test. SNTL Corp., 571 F.3d at 839; In re Jensen, 995 F.2d at 930. A claim arises

20   when the claimant “can fairly or reasonably contemplate the claim's existence even if a cause of

21   action has not yet accrued under nonbankruptcy law.” SNTL Corp., 571 F.3d at 839 citing Cool Fuel,

22   Inc. v. Bd. of Equalization, 210 F.3d 999, 1007 (9th Cir. 2000)). As explained in STNL Corp., if a

23   right to payment exists upon the occurrence of a future contingency, a claim is allowable as a

24   prepetition claim under Section 502(b)(1) even if that contingency is satisfied postpetition. Id. at

25   538. The timing of the happenstance of when the contingency occurs does not control a claim’s

26   characterization. Thus, “[i]f the creditor's services have been fully performed pre-petition and all that

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Case 1:18-bk-10098-MB         Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                   Desc
                               Main Document     Page 9 of 19


 1   remains is the payment of money”, the claim is a general unsecured claim, not an administrative

 2   claim. In re HSD Venture, 178 B.R. 831, 836 (Bankr.S.D.Cal. 1985).

 3          The Commission Agreement appears to have been entered prepetition with the prepetition

 4   Debtors. The fact that a sale may have occurred postpetition or the amount of the commission due

 5   was not fixed as to the amount or date until after the petition date does not serve to transmute the

 6   Claim from a general unsecured claim into an allowable administrative expense.

 7          C.      The Commission Agreement Was Not An Assumable Executory Contract.

 8          The Trustee believes the commission agreement was not executory. The Ninth Circuit noted

 9   that it had recently defined the standard for determining whether a contract is executory:

10          Although the Code does not define “executory contract,” courts have generally defined such

11          a contract as one on which performance is due to some extent on both sides.... [I]n executory

12          contracts the obligations of both parties are so far unperformed that the failure of either party

13          to complete performance would constitute a material breach and thus excuse the performance

14          of the other.

15          This means that when a party has “substantially performed” its side of the bargain, such that

16          the party’s failure to perform further would not constitute a material breach excusing

17          performance by the other party, a contract is not executory. Pacific Express, Inc. v.

18          Teknekron Infoswitch Corp. (In re Pacific Express, Inc.), 780 F.2d 1482, 1487–88 (9th Cir.

19          1986). The party who has fully performed is thus relegated to the position of a general

20          creditor of the bankrupt estate. Id. at 1130 (quoting Griffel v. Murphy (In re Wegner), 839

21          F.2d 533, 536 (9th Cir. 1987) (citation omitted) (emphasis added).

22          A commission agreement is performed when a buyer is procured and is not made executory

23   by a provision conditioning payment on closing the sale. Id.at 1131. Thus, any commission due

24   Claimant was already earned prepetition. The Claimant has provided no evidence that he/she

25   provided material post-petition services to generate any commissions due pursuant to the parties’

26   agreement. The agreement was not an assumable executory contract and the Claim must be

27   disallowed as an administrative expense.

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Case 1:18-bk-10098-MB          Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40                  Desc
                                Main Document    Page 10 of 19


 1          D.      Even If The Commission Agreement Was An Assumable Executory Contract, It

 2   Was Rejected.

 3          Even if the commission agreement between the parties had been an assumable contract, it

 4   was not an Assumed Contract. Rejection of an executory contract constitutes a breach of such

 5   contract “immediately before the date of the filing of the petition.” 11 U.S.C. §365(g)(1). In turn, the

 6   claim which arises from the rejection is a dischargeable prepetition claim against the estate. 11

 7   U.S.C. § 502(g)(1). See also, NLRB v. Bildisco & Bildisco, 465 U.S. 513, 532 (1984) (A claim based

 8   upon an executory contract which was not assumed “is not an enforceable contract” of the estate and

 9   rejection is deemed a prepetition breach of contract; the counterparty is a creditor entitled to a

10   prepetition claim for damages). The Claim must be disallowed in its entirety as an administrative

11   expense.

12   III.   RESERVATION OF RIGHTS.

13          The Trustee has not attempted to raise in this Motion each defense, counterclaim, or setoff

14   that may apply to the Claim. If a response to this Motion is received, the Trustee reserves the right

15   to amend or supplement it, or file additional pleadings to assert any defenses, counterclaims, and/or

16   setoffs against the Claim. The Trustee reserves the right to file future pleadings to challenge the

17   validity, amount, or status of the Claim upon different grounds than set forth herein or otherwise.

18   //

19   //

20   //

21   //

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 1   IV.    CONCLUSION.

 2          For the reasons set forth herein, the Trustee respectfully requests that the Court enter an

 3   order: (a) granting the Motion; (b) disallowing the Claim as an administrative expense; and (c)

 4   granting such other and further relief as may be appropriate under the circumstances.

 5
     Dated: November 8, 2021               LAW OFFICES OF BRADLEY E. BROOK, APC
 6

 7
                                      By: Bradley E. Brook __________________________
 8                                        Bradley E. Brook, Esq.
                                          Special counsel for David K. Gottlieb, Chapter 7 Trustee
 9

10   Submitted by:
11   Linda F. Cantor (CA Bar No. 153762)
     PACHULSKI STANG ZIEHL & JONES LLP
12   10100 Santa Monica Blvd., 13th Floor
     Los Angeles, CA 90067
13   Telephone: 310/277-6910
     Facsimile: 310/201-0760
14   E-mail: lcantor@pszjlaw.com

15   By: /s/ Linda F. Cantor____________________
        Linda F. Cantor
16      Counsel for David K. Gottlieb, Chapter 7 Trustee
        of Penthouse Global Media, Inc. and its debtor affiliates
17

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                         Main Document    Page 12 of 19
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                         Main Document    Page 13 of 19


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                                 EXHIBIT “1”
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ln re:PENTHOUSE GLOBAL M EDIA,JNC,Debtor, Caseno.l:l8-bk-l0098-NIB
(LeadCase-JointlyAdministered)
PenthouseGlobalBroadcasting,Inc.1:13-bk-10099-M B;PenthouseGlobalLicensing,Inc.l:13-bk-10101-M B;
PenthouseGlobalDigital,lnc.l.18-bk-l0102-518,
                                            .PentàouseGlobalPublishing,lnc,1:18-bk-lûl03-MB'
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GM ionlineVentures,Ltd.l:18-bk-l0l04-M B;PenthouseDigitalM ediaProductions,Inc.1' .18-bk-10l05-M B',
TanDeorMedia,lnc.1:18-bk-101O6-M B'    ,PenthouselmagesAcquisitions,Ltd.1:18-bk-l0107-M B ,
                                                                                          '
PureEntertainmentTelecommklnications,Inc.l:18-bk-l0lO8-M B;XVHUB Group,Inc.l:18-bk-10109-M B;
GeneralM ediacommunications,Inc.l:l8-bk-l0llC-&1B'  ,GeneralM ediaEntertainment,lnc.l:18-bk-lû11I-M B;
DanniAshe,lnc.1:13-bk-101l2-M B;Streamray Studios,lnc.l:18-bk-l0l13-:18
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                                                         perty)         Arash Dadashzadeh
                                                                        5420KediakM ountain Dr
  Arash Dadashzadeh                                                     YorbaLinda,CA 92887
                                                                        (702)981-0370

  l BASISFOR CLAIM (chtckone):
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 BURBANK BLVD.W OODLAND HILLS,CA 91367w/a copytoPachulskiStangZiehl& JonesLLP,10100Santa
 MonicaBlvd,,l3th Floor,LosAngeles,Califol  mia96667-41û0,Attention:LindaF.Cantor
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                                                                   1                              PROOF OF SERVICE OF DOCUMENT
                                                                   2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is:
                                                                   3
                                                                                       10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067
                                                                   4
                                                                       A true and correct copy of the foregoing document entitled NOTICE OF OBJECTION TO CLAIM
                                                                   5   will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
                                                                       and (b) in the manner stated below:
                                                                   6
                                                                       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
                                                                   7   General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
                                                                       document. On November 8, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary
                                                                   8   proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
                                                                       transmission at the email addresses stated below:
                                                                   9
                                                                                                                                 Service information continued on attached page
                                                                  10
                                                                       2. SERVED BY UNITED STATES MAIL: On November 8, 2021, I served the following persons and/or
                                                                  11   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
                                                                       correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
                                                                       completed no later than 24 hours after the document is filed.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       Arash Dadashzadeh
                                                                  14   5420 Kediak Mountain Dr
                                                                       Yorba Linda, CA 92887
                                                                  15
                                                                                                                                 Service information continued on attached page
                                                                  16
                                                                       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                  17   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
                                                                       November 8, 2021, I served the following persons and/or entities by personal delivery, overnight mail service,
                                                                  18   or (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                                       follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                                  19   judge will be completed no later than 24 hours after the document is filed.

                                                                        Via Federal Express
                                                                  20
                                                                        Honorable Martin R. Barash
                                                                  21    United States Bankruptcy Court
                                                                        Central District of California
                                                                  22    21041 Burbank Boulevard, Suite 342 / Courtroom 303
                                                                        Woodland Hills, CA 91367
                                                                  23
                                                                                                                                 Service information continued on attached page
                                                                  24
                                                                       I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                                                  25
                                                                        November 8, 2021                         Janice G. Washington          /s/ Janice G. Washington
                                                                  26    Date                              Printed Name                         Signature

                                                                  27

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                                                                   1    1. 1:18-bk-10098-MB Notice will be electronically mailed to:
                                                                   2    Ron Bender on behalf of Interested Party Courtesy   bdavidoff@greenbergglusker.com,
                                                                        NEF                                                 calendar@greenbergglusker.com;jking@greenberg
                                                                   3    rb@lnbyb.com                                        glusker.com
                                                                   4    Stephen F Biegenzahn on behalf of Creditor Eli B.   James A Dumas, Jr on behalf of Creditor NOA
                                                                        Dubrow                                              Productions SPRL
                                                                   5    efile@sfblaw.com                                    jdumas@dumas-law.com,
                                                                                                                            jdumas@ecf.inforuptcy.com
                                                                   6    Paul M Brent on behalf of Interested Party WGCZ
                                                                        Ltd., S.R.O.                                        James A Dumas, Jr on behalf of Creditor
                                                                   7    snb300@aol.com                                      Penthouse Global Broadcasting, Inc.
                                                                                                                            jdumas@dumas-law.com,
                                                                   8    Bradley E Brook on behalf of Plaintiff DAVID K      jdumas@ecf.inforuptcy.com
                                                                        GOTTLIEB
                                                                   9    bbrook@bbrooklaw.com,                               Jeffrey K Garfinkle on behalf of Creditor Easy
                                                                        paulo@bbrooklaw.com;brookecfmail@gmail.com          Online Solutions, Ltd. d/b/a MojoHost
                                                                  10                                                        jgarfinkle@buchalter.com,
                                                                        Bradley E Brook on behalf of Plaintiff DAVID K      docket@buchalter.com;dcyrankowski@buchalter.c
                                                                  11    GOTTLIEB                                            om
                                                                        bbrook@bbrooklaw.com,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12    paulo@bbrooklaw.com;brookecfmail@gmail.com          Allan B Gelbard on behalf of Other Professional
                                                                                                                            Allan B. Gelbard
                                        LOS ANGELES, CALIFORNIA




                                                                        Bradley E Brook on behalf of Trustee David Keith    xxxesq@aol.com, Allan@GelbardLaw.com
                                                                  13
                                           ATTORNEYS AT LAW




                                                                        Gottlieb (TR)
                                                                        bbrook@bbrooklaw.com,                               David Keith Gottlieb (TR)
                                                                  14    paulo@bbrooklaw.com;brookecfmail@gmail.com          dkgtrustee@dkgallc.com,
                                                                                                                            dgottlieb@iq7technology.com,rjohnson@dkgallc.c
                                                                  15    Linda F Cantor, ESQ on behalf of Debtor             om,akuras@dkgallc.com;ecf.alert+Gottlieb@titlexi
                                                                        Penthouse Global Media, Inc.                        .com
                                                                  16    lcantor@pszjlaw.com, lcantor@pszjlaw.com
                                                                                                                            Mirco J Haag on behalf of Creditor Easy Online
                                                                  17    Linda F Cantor, ESQ on behalf of Trustee David      Solutions, Ltd. d/b/a MojoHost
                                                                        Keith Gottlieb (TR)                                 mhaag@buchalter.com,
                                                                  18    lcantor@pszjlaw.com, lcantor@pszjlaw.com            dcyrankowski@buchalter.com;docket@buchalter.c
                                                                                                                            om
                                                                  19    Carol Chow on behalf of Interested Party Jerrick
                                                                        Media Holdings, Inc.                                Mark S Horoupian on behalf of Interested Party
                                                                  20    carol.chow@ffslaw.com,                              Courtesy NEF
                                                                        easter.santamaria@ffslaw.com                        mhoroupian@sulmeyerlaw.com,
                                                                  21                                                        mhoroupian@ecf.inforuptcy.com;ccaldwell@sulm
                                                                        Carol Chow on behalf of Interested Party Jerrick    eyerlaw.com
                                                                  22    Ventures LLC
                                                                        carol.chow@ffslaw.com,                              Mark S Horoupian on behalf of Interested Party
                                                                  23    easter.santamaria@ffslaw.com                        WSM Investment, LLC dba TOPCO Sales
                                                                                                                            mhoroupian@sulmeyerlaw.com,
                                                                  24    Russell Clementson on behalf of U.S. Trustee        mhoroupian@ecf.inforuptcy.com;ccaldwell@sulm
                                                                        United States Trustee (SV)                          eyerlaw.com
                                                                        russell.clementson@usdoj.gov
                                                                  25                                                        Razmig Izakelian on behalf of Interested Party
                                                                        Joseph Corrigan on behalf of Creditor Iron          WGCZ Ltd., S.R.O.
                                                                  26    Mountain Information Management, LLC                razmigizakelian@quinnemanuel.com
                                                                        Bankruptcy2@ironmountain.com
                                                                  27                                                        John P Kreis on behalf of Creditor Claxson Media
                                                                        Brian L Davidoff on behalf of Interested Party      LLC
                                                                  28    Silver Reel Entertainment Mezzanine Fund, L.P.      jkreis@kreislaw.com, j.kreis@ca.rr.com
                                                                  Case 1:18-bk-10098-MB          Doc 1024 Filed 11/09/21 Entered 11/09/21 15:01:40              Desc
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                                                                   1                                                        stjames.michaelr101488@notify.bestcase.com
                                                                        Michael D Kwasigroch on behalf of Defendant
                                                                   2    Revideo, Inc.
                                                                        attorneyforlife@aol.com
                                                                   3                                                        Michael St James on behalf of Interested Party
                                                                        Michael D Kwasigroch on behalf of Defendant         Michael St. James
                                                                   4    Kelly Holland                                       ecf@stjames-law.com,
                                                                        attorneyforlife@aol.com                             stjames.michaelr101488@notify.bestcase.com
                                                                   5
                                                                        Michael D Kwasigroch on behalf of Defendant         Howard Steinberg on behalf of Creditor Greenberg
                                                                        Robert Campbell                                     Traurig, LLP
                                                                   6    attorneyforlife@aol.com                             steinbergh@gtlaw.com,
                                                                                                                            pearsallt@gtlaw.com;laik@gtlaw.com
                                                                   7    Andrew B Levin on behalf of Interested Party
                                                                        Kirkendoll Management LLC                           Cathy Ta on behalf of Creditor Penthouse Clubs
                                                                   8    alevin@wcghlaw.com,                                 Worldwide, LLC
                                                                        Meir@virtualparalegalservices.com;pj@wcghlaw.c      cathyta@cathyta.net
                                                                   9    om;jmartinez@wcghlaw.com
                                                                                                                            United States Trustee (SV)
                                                                  10    Peter W Lianides on behalf of Interested Party      ustpregion16.wh.ecf@usdoj.gov
                                                                        Kirkendoll Management LLC
                                                                  11    plianides@wghlawyers.com,                           Michael H Weiss mhw@mhw-pc.com,
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                        jmartinez@wghlawyers.com;mweinberg@wghlaw
                                                                  12    yers.com                                            Michael H Weiss on behalf of Debtor Danni Ashe,
                                                                                                                            Inc.
                                        LOS ANGELES, CALIFORNIA




                                                                  13    David W. Meadows on behalf of Interested Party      mhw@mhw-pc.com
                                           ATTORNEYS AT LAW




                                                                        Courtesy NEF
                                                                  14    david@davidwmeadowslaw.com                          Michael H Weiss on behalf of Debtor GMI Online
                                                                                                                            Ventures, Ltd.
                                                                  15    Krikor J Meshefejian on behalf of Creditor          mhw@mhw-pc.com
                                                                        Interested Party
                                                                  16    kjm@lnbyb.com                                       Michael H Weiss on behalf of Debtor General
                                                                                                                            Media Communications, Inc.
                                                                        Alan I Nahmias on behalf of Interested Party        mhw@mhw-pc.com
                                                                  17    Courtesy NEF
                                                                        anahmias@mbnlawyers.com,                            Michael H Weiss on behalf of Debtor General
                                                                  18    jdale@mbnlawyers.com                                Media Entertainment, Inc.
                                                                                                                            mhw@mhw-pc.com
                                                                  19    Iain A W Nasatir on behalf of Interested Party
                                                                        Courtesy NEF                                        Michael H Weiss on behalf of Debtor Penthouse
                                                                  20    inasatir@pszjlaw.com, jwashington@pszjlaw.com       Digital Media Productions, Inc.
                                                                                                                            mhw@mhw-pc.com
                                                                  21    Iain A W Nasatir on behalf of Trustee David Keith
                                                                        Gottlieb (TR)                                       Michael H Weiss on behalf of Debtor Penthouse
                                                                  22    inasatir@pszjlaw.com, jwashington@pszjlaw.com       Global Broadcasting, Inc.
                                                                                                                            mhw@mhw-pc.com
                                                                  23    Hamid R Rafatjoo on behalf of Creditor Committee
                                                                        The Official Committee of Unsecured Creditors       Michael H Weiss on behalf of Debtor Penthouse
                                                                  24    hrafatjoo@raineslaw.com, bclark@raineslaw.com       Global Digital, Inc.
                                                                                                                            mhw@mhw-pc.com
                                                                  25    S. Marguax Ross on behalf of U.S. Trustee United
                                                                        States Trustee (SV)                                 Michael H Weiss on behalf of Debtor Penthouse
                                                                  26    margaux.ross@usdoj.gov,                             Global Licensing, Inc.
                                                                        Kate.Bunker@UST.DOJ.GOV                             mhw@mhw-pc.com
                                                                  27
                                                                        Michael St James on behalf of Creditor Interested   Michael H Weiss on behalf of Debtor Penthouse
                                                                        Party                                               Global Media, Inc.
                                                                  28
                                                                        ecf@stjames-law.com,                                mhw@mhw-pc.com
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                                                                   1                                                         Michael H Weiss on behalf of Debtor XVHUB
                                                                            Michael H Weiss on behalf of Debtor Penthouse    Group, Inc.
                                                                   2        Global Publishing, Inc.                          mhw@mhw-pc.com
                                                                            mhw@mhw-pc.com
                                                                   3                                                         Marc J Winthrop on behalf of Interested Party
                                                                            Michael H Weiss on behalf of Debtor Penthouse    Kirkendoll Management LLC
                                                                   4        Images Acquisitions, Ltd.                        mwinthrop@wghlawyers.com,
                                                                            mhw@mhw-pc.com                                   jmartinez@wghlawyers.com
                                                                   5
                                                                            Michael H Weiss on behalf of Debtor Pure         Christopher K.S. Wong on behalf of Creditor LSC
                                                                            Entertainment Telecommunications, Inc. fka For   Communications US, LLC / Creel Printing
                                                                   6        Your Ears Only, Ltd.                             christopher.wong@arentfox.com,
                                                                            mhw@mhw-pc.com                                   yvonne.li@arentfox.com
                                                                   7
                                                                            Michael H Weiss on behalf of Debtor Streamray    Beth Ann R Young on behalf of Creditor Dream
                                                                   8        Studios, Inc.                                    Media Corporation
                                                                            mhw@mhw-pc.com                                   bry@lnbyb.com
                                                                   9
                                                                            Michael H Weiss on behalf of Debtor Tan Door     Beth Ann R Young on behalf of Creditor Interested
                                                                  10        Media, Inc.                                      Party
                                                                            mhw@mhw-pc.com                                   bry@lnbyb.com
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       2.   SERVED BY UNITED STATES MAIL:
                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13        Debtor
                                           ATTORNEYS AT LAW




                                                                            Penthouse Global Media, Inc.
                                                                  14        8944 Mason Ave.
                                                                            Chatsworth, CA 91311
                                                                  15
                                                                            Counsel for Debtor
                                                                  16        Michael H. Weiss, Esq., P.C.
                                                                  17        8581 Santa Monica Boulevard, #4
                                                                            West Hollywood, CA 90069
                                                                  18
                                                                            Trustee
                                                                  19        David K. Gottlieb
                                                                            Managing Member
                                                                  20        D. Gottlieb & Associates, LLC
                                                                  21        16255 Ventura Blvd., Suite 440
                                                                            Encino, California, 91436
                                                                  22
                                                                            Office of U.S. Trustee
                                                                  23        Kate Bunker
                                                                            915 Wilshire Blvd.
                                                                  24
                                                                            Suite 1850
                                                                  25        Los Angeles, CA 90017

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